    Case 19-12239-RG Doc 33 Filed 06/11/19 Entered 06/12/19 10:17:24                          Desc Main
                            Document
UNITED STATES BANKRUPTCY COURT            Page 1 of 3
DISTRICT OF NEW JERSEY
Caption in Compliance with D.N.J. LBR 9004-1(b)

LAW OFFICES OF STEVEN A. SERNA, LLC
5300 Bergenline Avenue, Suite 300
West New York, New Jersey 07093
Telephone Number (201) 392-0303                                              Order Filed on June 11, 2019
                                                                                       by Clerk
Attorneys for Debtor                                                            U.S. Bankruptcy Court
By: Steven A. Serna, Esq.                                                       District of New Jersey

Email: BK@SernaEsq.com

In Re:                                                  Case No.:               19-12239

                                                        Hearing Date:      6/10/19 at 10AM
ROSA M. LOPEZ,
                                                        Judge:          Rosemary Gambardella
                      Debtor.

                                                        Chapter:                     7




                ORDER ON MOTION TO CONVERT CASE TO CHAPTER 13


               The relief set forth on the following pages, numbered 2 and 3, is hereby ORDERED.




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       Upon the motion of Debtor                                                                    and
 for good cause shown, it is

        ORDERED that the motion is:

         denied.

                                                             7
         granted, and this case is converted from chapter ______ to chapter 13, and it is further

       ORDERED that within 7 days of the date of this Order the debtor shall file amendments to
previously filed schedules and statements as necessary, and it is further

       ORDERED that:

        if the case is converting from chapter 7, and the fee under that chapter was waived by
           prior order of this court, the debtor must pay the chapter 13 filing fee in the amount of
           $ _____________ in full or file an Application and Order for Individuals to Pay the
           Filing Fee in Installments within 7 days of the date of this order or the case will be
           dismissed without further notice, and it is further

       ORDERED that the chapter 7 trustee shall:

        immediately turn over to the debtor all records and property of the estate in
           his/her custody or control,

        within 30 days of the date of this order, file an accounting of all receipts and
           distributions made, together with a report on the administration of the case as
           required by 11 U.S.C. § 704(a)(9),

        within 30 days of the date of this Order, file a Request for Payment of Administrative
           Expenses including deferred filing fees, if appropriate, it is further




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         ORDERED that:

          the case shall not be dismissed in the event the debtor is unsuccessful in
             confirming and completing a plan, but will be converted to chapter 7,

          the conversion to chapter 13 is conditioned upon payment by the debtor(s),
             through the Chapter 13 plan, of all allowed chapter 7 administrative expenses,
             and it is further

         ORDERED that within 14 days of the date of this Order the debtor shall file local forms:

         •   Chapter 13 Plan and Motions, and

         •   Disclosure of Chapter 13 Debtor’s Attorney Compensation - if represented by an
             attorney.

         ORDERED that if the debtor fails to file the documents set forth above within 14 days of
the date of this Order, the case shall be dismissed by the Court without further notice. Any
objection to dismissal must be filed and received by the Clerk within 7 days of the date of this
Order.




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